                                        UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF NORTH CAROLINA
                                            CHARLOTTE DIVISION
                                        DOCKET NO. 3:16-cr-161-FDW-DCK


               UNITED STATES OF AMERICA                      )
                                                             )
               vs.                                           )
                                                             )                      ORDER
               LUIS DANIEL SANCHEZ-                          )
               CONTRERAS,                                    )
                                                             )
                        Defendant.                           )


                       THIS MATTER is before the Court on the Government’s Motion to Dismiss. (Doc. No.

              59). Upon motion by the United States for leave to dismiss, the court hereby GRANTS the

              Government leave to dismiss this case and dismisses the case as to Defendant Luis Daniel Sanchez-

              Contreras.

                       IT IS SO ORDERED.



Signed: December 19, 2016




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